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BRYAN J. FREEDMAN



May 14, 2025

Via ECF
Hon. Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street, Room 1620
New York, NY 10007

Re:    Lively v. Wayfarer Studios LLC et al., No. 1:24-cv-10049-LJL;
       rel. Wayfarer Studios LLC et al. v. Lively et al., No. 1:25-cv-00449-LJL

Dear Judge Liman:

We write in response to the letter filed by Plaintiff/Consolidated Defendant Blake Lively (“Ms.
Lively”) and Consolidated Defendant Ryan Reynolds (together, the “Lively Defendants”)
regarding their requested intervention in an action in the United States District Court for the
District of Columbia seeking to quash the Wayfarer Parties’ subpoena (the “Subpoena”) to
Venable LLP (“Venable”) (Dkt. 213).

The Wayfarer Parties anticipate that Venable’s motion to quash will be mooted in short order, as
their counsel and Venable are conferring in good faith. However, the Lively Defendants’
insistence that the Subpoena seeks irrelevant information is wrong. The Subpoena aims to obtain
discovery relating to witness tampering and evidence spoliation. Specifically, the Wayfarer
Parties’ counsel are informed and believe, based on information from a source who is highly
likely to have reliable information, that (i) Ms. Lively requested that Taylor Swift delete their
text messages; (ii) Michael Gottlieb of Willkie Farr, counsel for the Lively Defendants,
contacted a Venable attorney who represents Ms. Swift and demanded that Ms. Swift release a
statement of support for Ms. Lively, intimating that, if Ms. Swift refused to do so, private text
messages of a personal nature in Ms. Lively’s possession would be released. The Wayfarer
Parties’ counsel are further informed and believe that a representative of Ms.
Swift addressed these inappropriate and apparently extortionate threats in at least one written
communication transmitted to Mr. Gottlieb. It is those communications that the Wayfarer Parties
seek to obtain by way of subpoena, as they would evidence an attempt to intimidate and coerce
a percipient witness in this litigation.

As stated, the Wayfarer Parties’ counsel are in active discussions with Venable to determine how
to proceed. Should those discussions prove unfruitful, the Wayfarer Parties will either oppose the
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motion to quash or withdraw the current Subpoena in favor of an amended subpoena seeking
only the communications in question.

                                      Respectfully submitted,

                                      /s/ Bryan J. Freedman
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cc: all counsel of record (via ECF)
